Case 2'05-cr-20056-SH|\/| Document 69 Filed 09/01/05 Page 1 of 2 Page|D 70

UNITED sTATEs nisTRicT coURT F“~E"»"' -Y-“?"=" ~..-- D.c'.
WESTERN DISTRICT oF TENNESSEE
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05cr20056-10Ma
JESSE DREW

 

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
WEDNESDAY, SEPTEMBER 7, 2005 at 4:00 P.M. before United States Magistrate Judge Diaoe
K. Vescovo in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building,
167 North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by
the United States Marshal and produced for the hearing.

Date: September 1,2005 /O .
vt a/u,e k Zd/Z/F

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

lIi` not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant. 18 U.S,C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attemey for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) wi ll flee or (b) wi ll obstruct or attempt to obstruct j usti ce, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8¢'85) Order of Ten'porary Delention

This document entered on the docket sheet in compliance
with Flu|e 55 ami/or 32(b) FHCrP on "/ & §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:05-CR-20056 Was distributed by faX, mail, or direct printing on
September 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

